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1                                                              The Honorable Richard A. Jones
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7                       UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
8
                                    AT SEATTLE
9
10
      UNITED STATES OF AMERICA,                         NO. CR11-0070RAJ
11
                           Plaintiff
                                                        GOVERNMENT’S RESPONSE TO
12
                                                        DEFENDANT’S MOTION TO
13                                                      SUPPRESS
                          v.
14
      ROMAN V. SELEZNEV,
15
                          Defendant.
16
17
                                       I.     INTRODUCTION
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            Defendant moves the Court to suppress evidence obtained from the laptop
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     computer that he was carrying at the time he was captured in the Maldives. The primary
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     argument he raises in support of suppression is a claim of government misconduct in the
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     handling of the computer prior to the forensic examination. Defendant’s theory of
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     suppression is a moving target. His request for leave to file a late motion indicated he
23
     was seeking to suppress the laptop based on alleged Fourth Amendment violations
24
     involving “unreasonable warrantless searches.” Def. Motion for Leave, Dkt. 297 at 3, 5-
25
     6. He has now abandoned these allegations and argues that the government’s alleged
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     mishandling of the computer amounts to a due process violation that requires
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     suppression. When a defendant seeks to suppress evidence based on claims of
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 1 government misconduct, the defendant must show the government acted in bad faith and
 2 demonstrate prejudice to his defense. See Arizona v. Youngblood, 488 U.S. 51 (1988);
 3 United States v. Loud Hawk, 628 F.2d 1139, 1152 (9th Cir. 1979). Defendant’s proffered
 4 expert testimony is insufficient to establish any misconduct, let alone bad faith. The
 5 government’s rebuttal expert testimony will fully explain and justify the government’s
 6 conduct. Defendant’s additional challenges based on staleness and delay in obtaining the
 7 warrant are equally without merit. Based on the totality of the circumstances, the
 8 government obtained a warrant within a reasonable amount of time. Furthermore, the
 9 affidavit in support of the warrant described overwhelming evidence that defendant’s
10 computer contained evidence of his crimes.
11                                         II.    FACTS
12         The government expects to establish the following facts at the evidentiary hearing
13 scheduled for June 1-2, 2016. The government will present testimony from three
14 witnesses: Special Agents Michael Fischlin and David Mills, and computer forensic
15 expert Ovie Carroll, Director of the Department of Justice Cybercrime Laboratory.
16         A.     Seizure and Search Warrant Affidavit
17         On July 5, 2014, defendant was apprehended in the Maldives and transported to
18 Guam for his initial appearance. At the time of his apprehension, defendant was carrying
19 several electronic devices including a Sony Vaio laptop computer (“the computer”).
20 Special Agent Daniel Schwandner inventoried the items and Special Agents Mark Smith
21 and David Iacovetti confirmed the inventory while they were flying to Guam. Agent
22 Iacovetti maintained custody of the items until he delivered them to the Seattle United
23 States Secret Service (USSS) Field Office’s evidence vault on July 8th. The following
24 day, Agents Fischlin and Mills moved the computer to a separate USSS Electronic
25 Crimes Task Force (ECTF) evidence vault in anticipation of a forensic examination. On
26 the same day, while locating the computer’s serial number, Agent Mills observed the
27 computer’s screen light up – which he reported in his examination notes. (See Def. Ex. 3
28 at 6). Although the screen lit up, the agents left the computer powered on because they
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 1 believed there was a high likelihood that defendant, a notorious and skilled
 2 cybercriminal, would have enabled encryption on his computer. In the agents’
 3 experience, powering down an encrypted computer would have left them with no means
 4 to break the encryption without the password. On the other hand, the agents were aware
 5 that there were possible methods to glean the encryption keys from a powered computer’s
 6 random access memory (RAM). RAM, unlike a computer’s hard drive, is volatile and
 7 cannot be recovered after the computer is powered down. (See Def.’s Exhibit 1 at ¶ 26).
 8 RAM can have significant forensic value because it may contain information (particularly
 9 very recent information not available elsewhere on the computer). Id. Forensic
10 examiners, therefore, will occasionally attempt to conduct a “live image” of RAM in
11 order to copy its data, including potential encryption keys.
12         As a result of the time between the defendant’s 2011 indictment and his
13 apprehension, neither the original case agent nor the original AUSA remained employed
14 by the government. This meant that a new case agent and a new AUSA had to get up to
15 speed on this complex case to prepare the search warrant. After the computer arrived in
16 Seattle, Agent Fischlin immediately began working on a search warrant affidavit and
17 submitted an initial draft to the U.S. Attorney’s Office (“USAO”) for review on July
18 10th. Between July 10th and July 22nd, Agent Fischlin consulted with the USAO and
19 shared multiple drafts of his affidavit. Because he had only recently been assigned to the
20 investigation, he needed time to familiarize himself with the case in order to respond to
21 comments and edits from the USAO. On July 20th, however, Agent Fischlin traveled to
22 Guam to testify at defendant’s identity hearing scheduled for July 22nd. Over the next
23 several days, the hearing was delayed repeatedly based on defense motions to continue
24 and weather related closures of the court. As a result, Agent Fischlin stayed in Guam
25 through July 30th, when the hearing went forward. Because Agent Fischlin was delayed
26 in Guam and unavailable, USSS took the extraordinary step of arranging for another
27 agent to travel from Washington D.C. exclusively for the purpose of swearing out the
28 warrant. On Thursday July 24th, Special Agent Richard LaTulip from the Cyber
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 1 Intelligence Section at USSS headquarters in Washington D.C., began revising the
 2 affidavit so that he could present the warrant application in place of Agent Fischlin.
 3 Agent LaTulip traveled to Seattle on July 28th, and presented the warrant to the
 4 Honorable James P. Donohue, who signed the warrant.
 5         The search warrant affidavit details a multi-year, international investigation of a
 6 complex cybercrime scheme. The affidavit describes overwhelming evidence tying
 7 defendant to the infrastructure that supported his scheme between approximately 2007
 8 and July 2014, including receipts with defendant’s name, phone number and home
 9 address located in e-mail accounts used to manage defendant’s criminal infrastructure.
10 (See Def. Ex. 1 at ¶ 60, 82-83). The affidavit also described how defendant’s internet
11 travel reservations (including his date of birth and passport number) were located in the
12 internet history of computer servers used to facilitate defendant’s hacking scheme. (See
13 Def. Ex. 1 at ¶’s 61-70). The affidavit also described evidence of recent credit card
14 hacking and trafficking occurring up through the week before defendant’s apprehension
15 that was directly tied to defendant’s past hacking and credit card trafficking through
16 online currency accounts. (See Def. Ex. 1 at ¶ 57, 95-102, 105). In addition, the agent
17 offered extensive background information related to how cybercriminals operate,
18 including the fact that cybercriminals retain information related to their online user
19 names/identities, otherwise known as “nics,” over the course of several years. (See Def.
20 Ex. 1 at ¶ 25). Indeed, the search of defendant’s computer revealed he maintained lists
21 documenting many of the usernames and passwords he had used continuously throughout
22 his career, including key nics such as Bulba, 2pac, and smaus, and favorite passwords
23 such as ochko123 and smaus123. (See Gov. Ex. 1 – User Credentials Files from
24 Defendant’s Computer).
25         B.     Storage and Forensic Examination of the Computer
26         The computer remained in the ECTF evidence vault until July 30th, when Agent
27 Mills removed the computer from the vault for the purpose of conducting a forensic
28 examination. As of July 30th, Agent Mills anticipated conducting a live imaging of the
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 1 computer in an attempt to capture the RAM and any possible encryption keys it
 2 contained. (See Gov. Ex. 2 – Agent Mills Email, July 30, 2014). Upon retrieving the
 3 computer, however, Agent Mills noticed the computer appeared to be powered off.
 4 Therefore, he connected the computer to a power cable to recharge its battery in hopes
 5 that the RAM might be preserved. (See Def. Ex. at 6). That evening, Agent Mills sent an
 6 email to Agent Fischlin describing his efforts to research whether conducting a live
 7 image of the computer might be possible. (See Gov. Ex. 2). He explained that USSS had
 8 purchased a test machine similar to defendant’s computer and that they had made several
 9 attempts to live image the test machine using different forensic products without success.
10         On August 1st, Agent Mills determined it would not be possible to conduct a live
11 image and proceeded to dismantle the computer to remove the Solid State Drive (SSD)
12 for forensic imaging. (See Def. Ex. at 7). While removing the back panel of the
13 computer to access the SSD, Agent Mills noticed the screen of the computer light up and
14 display the “splash screen” which he reported in his examination notes as occurring at
15 approximately 2:45 PM PST (See Def. Ex. 3 at 4, 6). A forensic review of the computer
16 revealed operating system activity consistent with this event at 2:48 PM PST. (See Def.
17 Ex. 3 at 5). Agent Mills reported that this indicated “that the laptop, instead of being
18 completely powered off, had been in a ‘sleep’ state.” He then proceeded to power down
19 the computer by pressing the power button and continued dismantling the computer. Id.
20 After removing the SSD, Agent Mill’s attached the SSD to an adapter and write blocker
21 to begin the forensic imaging process at approximately 3:11 PM PST.
22         After making a forensic copy of the computer hard drive, Agent Mills found
23 numerous files that had been automatically accessed by the computer’s operating system
24 after defendant’s apprehension on July 5th, as well as numerous automatically generated
25 files. Agent Mills reported this discovery in his report and summarized his research of
26 the reasons why the computer showed activity following defendant’s apprehension. (See
27 Def. Ex. 5 at 6). Agent Mills explained that he learned that the operating system on the
28 computer was Windows version 8.1 and this operating system may remain in a semi-
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 1 sleep mode as long as power is supplied. Id. When the device is in sleep mode, the
 2 operating system will continue to check or “write” files to the system. Id. Agent Mills
 3 opined that the only way to prevent this activity would be to physically remove the
 4 battery from the device which requires disassembly of the computer. Id.
 5         C.     The Government’s Independent Forensic Investigation
 6         In anticipation of defendant’s allegations that the post-seizure file activity reported
 7 in Agent Mills examination affected the authenticity of the evidence on the computer, the
 8 government asked Mr. Carroll to independently review the forensic image of defendant’s
 9 computer. Mr. Carroll examined every one of the files that were accessed or created on
10 defendant’s computer after his apprehension on July 5th, and determined that all of these
11 files were accessed or created automatically by the operating system rather than any user
12 input. (See Gov. Ex. 3 - Declaration of Ovie Carroll at ¶ 2, 4). Furthermore, he
13 determined that none of the files accessed or created after defendant’s apprehension had
14 any impact on the authenticity of the exhibits the government intends to introduce. Id. at
15 ¶ 7. Additionally, Mr. Carroll will testify that based on his examination of the computer
16 system, event logs, registry and other forensic artifacts, he found the computer was last
17 connected to a wireless network named “Kanifushi” (the name of the hotel at which
18 defendant was staying immediately prior to his apprehension) on July 3rd, and that the
19 evidence conclusively shows the computer did not connect to any other wired or wireless
20 networks after July 3rd.
21         Mr. Carroll has also determined that the forensic evidence on the computer is
22 entirely consistent with Agent Mill’s examination reports, including the fact that the
23 splash screen displayed on August 1st, as Agent Mills removed the back cover of the
24 device. Mr. Carroll will testify that based on his training and experience, his knowledge
25 of the Windows 8.1 Operating System, and his examination of the forensic evidence, he
26 has determined that the computer was never fully powered down between July 5th and
27 August 1st. He will explain how the system operated at low-battery levels, which caused
28 the device to stop checking and/or writing files after July 14th. He will further explain
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 1 that contrary to defense expert Eric Blank’s opinion that forensic evidence from the
 2 computer on August 1st demonstrated mishandling of the device during the imaging
 3 process, the forensic evidence, in fact, demonstrates Agent Mills imaging of the SSD was
 4 forensically sound. Finally, he will testify that Agent Mill’s desire to conduct a live
 5 image of the device logically explains why it was maintained in a powered-on state
 6 between July 5th and August 1st, and why the agent plugged the device into power on
 7 July 30th, in anticipation of conducting a live image.
 8                                       III.   ARGUMENT
 9         A.      Defendant cannot meet his burden of showing government misconduct.
10         When seeking to suppress evidence based on allegations of government
11 misconduct, defendant bears the burden of demonstrating bad faith and prejudice. See
12 United States v. Flyer, 633 F.3d 911, 916 (9th Cir. 2011). Defendant’s reliance on
13 United States v. Sivilla, 714 F.3d 1168 (2013) to support a lower burden of proof is
14 misplaced. In Sivilla, the defendant was charged with drug offenses after cocaine was
15 found in the jeep he was driving. See Sivilla, 714 F.3d at 1170. Prior to trial, the district
16 court ordered the government to preserve the vehicle as evidence. See id. Despite the
17 order, the vehicle was auctioned and “stripped for parts.” Id. at 1171. Defendant moved
18 for dismissal of the indictment or, in the alternative, a remedial jury instruction based on
19 the destruction of evidence. Id. The district court denied the motion to dismiss and
20 refused the request for a remedial instruction based on the lack of bad faith. Id. The
21 Ninth Circuit reversed regarding the jury instruction and found that “[b]ad faith [was] the
22 wrong legal standard for a remedial jury instruction....” Id. at 1173. Instead, “[c]ourts
23 must balance the quality of the Government’s conduct against the degree of prejudice to
24 the accused, where the government bears the burden of justifying its conduct and the
25 accused of demonstrating prejudice.” Id. (quoting Loud Hawk, 628 F.2d at 1152). Under
26 that standard, the court held that a remedial jury instruction was warranted based on the
27 government's destruction of evidence that may have been pivotal to the defense. See id.
28 at 1173-74.
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 1         The most obvious difference between this case and Sivilla is that in Sivilla
 2 evidence was destroyed in direct violation of a court order. See id. at 1170-71. In this
 3 case, defendant has not alleged nor shown any basis to believe evidence was destroyed –
 4 let alone in violation of a court order. Additionally, unlike in this case, Sivilla specified
 5 how the destroyed evidence would have been used by the defense – thereby
 6 demonstrating substantial prejudice to his defense. See id. at 1174. Here, defendant
 7 cannot show how any of the automatically updated files have any impact on his ability to
 8 present a defense. Finally, defendant is not simply seeking a remedial jury instruction –
 9 he is seeking the complete suppression of all evidence obtained from the computer.
10 Because defendant cannot meet his burden of proving any misconduct, let alone bad
11 faith, his motion must be denied.
12         The Ninth Circuit’s decision in Flyer controls here. Flyer, 633 F.3d at 916. In
13 Flyer the Ninth Circuit affirmed a district court’s denial of a motion to suppress in which
14 defendant argued that the forensic examiner’s corruption of files on defendant’s computer
15 as a result of mistakenly allowing the examiner’s computer to connect to the defendant’s
16 computer and change last accessed dates on relevant files, showed bad faith. Id. at 915-
17 916. In that case, the forensic examiner belatedly admitted that he had mistakenly
18 connected his computer to the defendant’s laptop without proper write blocking during
19 the forensic imaging process and changed the last access dates on over 69,000 files,
20 including two that formed the basis of specific counts in the indictment. Id. The
21 examiner did not mention the mistake at all in his report. Instead the examiner reported
22 that “approved procedures and protocols were used,” which he “later admitted to be
23 false.” Id. at 915. Because this resulted in the metadata for the two relevant files being
24 overwritten, the government dismissed the counts in the indictment based on those files. 1
25
26   1
     As a result of the change in the last accessed dates for the two child pornography files
27 that the government alleged defendant had downloaded, they could no longer determine
   the correct last accessed dates for those files.
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 1 Id. Nonetheless, the court found the government presented evidence that the agent did
 2 not intentionally corrupt the data, “but rather mishandled it” and that Flyer did not “show
 3 that mishandling of the evidence prejudiced his defense.” Id. at 916. Therefore, the court
 4 affirmed the district court’s denial of defendant’s motion to suppress evidence.
 5          Unlike the agent in Flyer, Agent Mills did not mishandle defendant’s computer.
 6 The forensic evidence, contrary to defense expert’s claims, shows no user interaction
 7 with defendant’s computer or any errors in the imaging process such as those that
 8 occurred in Flyer. Additionally, Agent Mills specifically reported the file changes caused
 9 by the system in his initial report and a supplemental report providing additional details.
10 (See Def. Ex. 3 at 5; Def. Ex. 2). Moreover, the agent’s decision to keep the computer
11 powered on between July 5, 2014, and the time of his examination was based on
12 legitimate forensic goals – the goal of conducting a live image to preserve defendant’s
13 encryption keys. (See Gov. Ex. 2). Most importantly, unlike the changes to the metadata
14 for the two files in Flyer that formed the sole basis of two counts in the indictment, none
15 of the metadata changes in this case have any impact on the authenticity of the exhibits
16 the government intends to introduce at trial, or on defendant’s ability to present a defense.
17 The only exhibits from the computer that the government intends to introduce as exhibits
18 at trial consist of files and forensic artifacts that were created on the device prior to
19 defendant’s apprehension and were neither modified nor altered after defendant’s
20 apprehension. 2
21          The forensic evidence from the computer establishes beyond any reasonable doubt
22 that all of the exhibits from defendant’s laptop computer are in the exact same condition
23
24   2
     One exhibit - a banner advertisement for defendant’s carding website 2pac.cc, that was
25 located on the desktop of defendant’s operating system - shows a last accessed date of
   July 13, 2014. Mr. Carroll will explain that this was the result of routine system
26 generated activity and resulted in no changes to the content of the file. None of the other
27 exhibits from defendant’s computer that the government has selected for trial were
   accessed by the operating system or any human user following defendant’s apprehension.
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 1 as they were at the time the computer was seized from defendant on July 5, 2014.
 2 Defendant’s claim that the government mishandled, tampered with, or planted evidence
 3 on the computer is without any merit and fails to establish even simple negligence, let
 4 alone government misconduct amounting to bad faith that would be necessary to support
 5 the extraordinary remedy of suppression. Because the forensic examination of
 6 defendant’s laptop computer confirms the integrity of the evidence located on the
 7 computer and proves no misconduct occurred, defendant’s motion should be denied.
 8          B.     Defendant’s criticism of the forensic examination goes to the weight
                   rather than the admissibility of the evidence found on the computer.
 9
10          The reliability and authenticity of the evidence discovered on defendant’s
11 computer is a disputed issue of fact that does not support exclusion of the evidence. At
12 most, defendant’s claims challenge the credibility of the witnesses and the reliability of
13 the evidence. Any evidence or argument in support of these claims goes to the weight of
14 the evidence rather than its admissibility. Such challenges to the government’s evidence
15 are properly reserved for presentation to the ultimate finder of fact – the jury.
16        Mr. Blank’s claim that the file date changes suggest the possibility of evidence
17 tampering or mishandling is insufficient as a matter of law to support exclusion of the
18 evidence. Mr. Blank’s opinion is based on the premise that the file date changes on the
19 computer were the result of user interaction. Because the forensic evidence establishes
20 that his premise is false, his entire opinion is without merit – and should be excluded at
21 trial. Nonetheless, he argues that because computer data can be changed or deleted and
22 that an experienced user can cover up such activity, it would be unreasonable to rely on
23 any files on the computer despite the absence of any evidence demonstrating changes to
24 the relevant files. This argument is directly contrary to established Ninth Circuit
25 precedent. As that court has held “[t]he fact that it is possible to alter data contained in a
26 computer is plainly insufficient to establish untrustworthiness. The mere possibility that
27 the logs may have been altered goes only to the weight of the evidence not its
28 admissibility.” United States v. Bonallo, 858 F.2d 1427, 1436 (9th Cir.1988); see also,
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 1 United States v. Glasser, 773 F.2d 1553 (11th Cir. 1985) (“The existence of an air-tight
 2 security system [to prevent tampering] is not, however, a prerequisite to the admissibility
 3 of computer printouts. If such a prerequisite did exist, it would become virtually
 4 impossible to admit computer-generated records.”); United States v. Safavian, 435
 5 F.Supp.2d 36, 39–40 (D.D.C.2006) (“The possibility of alteration does not and cannot be
 6 the basis for excluding e-mails as unidentified or unauthenticated as a matter of course,
 7 any more than it can be the rationale for excluding paper documents (and copies of those
 8 documents).”)
 9         C.      The affidavit established a direct tie between defendant’s past
                   computer hacking activity and credit card trafficking and recent
10
                   criminal behavior the week before his 2014 apprehension and,
11                 therefore, was not stale.
12         Before a warrant is issued, the Fourth Amendment requires a neutral and detached
13 judge to find the facts and circumstances presented in an affidavit are “‘sufficient in
14 themselves to warrant a man of reasonable caution in the belief that an offense has been
15 or is being committed,’ and that evidence bearing on that offense will be found in the
16 place to be searched.” Safford Unified School Dist. No. 1 v. Redding, 129 S.Ct. 2633,
17 2639 (2009) (citations omitted). This requirement is a “‘practical, nontechnical
18 conception’ that deals with ‘the factual and practical considerations of everyday life on
19 which reasonable and prudent men, not legal technicians, act.’” Maryland v. Pringle, 540
20 U.S. 366, 370 (2003) (quoting Illinois v. Gates, 462 U.S. 213, 231 (1983)). Probable
21 cause does not require a showing of “certainty or even a preponderance of the evidence.”
22 United States v. Gourde, 440 F.3d 1065, 1069 (9th Cir. 2006) (en banc). It requires only
23 a “‘fair probability’ that contraband or evidence is located in a particular place,” a finding
24 that, in turn, depends on “the totality of the circumstances, including reasonable
25 inferences and is a ‘common sense, practical question.’” United States v. Kelley, 482
26 F.3d 1047, 1050 (9th Cir. 2003) (quoting Gourde, 440 F.3d at 1069).
27         An affidavit in support of a search warrant must also be based on facts “‘so closely
28 related to the time of the issue of the warrant as to justify a finding of probable cause at
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 1 that time.’” United States v. Lacy, 119 F.3d 742, 745-46 (9th Cir. 1997) (quoting Durham
 2 v. United States, 403 F.2d 190, 193 (9th Cir. 1968)). The court must evaluate claims of
 3 staleness, however, “in light of the particular facts of the case and the nature of the
 4 criminal activity and property sought.” Id. (quoting United States v. Pitts, 6 F.3d 1366,
 5 1369 (9th Cir. 1993). The mere passage of time is not controlling and a search warrant is
 6 “not stale if ‘there is sufficient basis to believe, based on a continuing pattern or other
 7 good reasons, that the items to be seized are still on the premises.” Id. (quoting United
 8 States v. Gann, 732 F.2d 714, 722 (9th Cir. 1984). While staleness “is highly relevant to
 9 the legality of a search for a perishable or consumable object, like cocaine,” it is “rarely
10 relevant when it is a computer file” because computers and computer equipment are “not
11 the type of evidence that rapidly dissipates or degrades.” United States v. Seiver, 692
12 F.3d 774, 777 (7th Cir. 2012) (quoting United States v. Vosburgh, 602 F.3d 512, 529 (3rd
13 Cir. 2010). As the Ninth Circuit has observed, computers have “long memor[ies].”
14 Gourde, 440 F.3d at 1071.
15         Here, the information set forth in the affidavit provided more than sufficient
16 probable cause to believe the evidence sought would be located on defendant’s computer
17 and other electronic devices. Much like the agent in Lacy, Agent LaTulip provided
18 information based on his training and experience that cybercriminals maintain their
19 online identities and information related to the criminal behavior for long periods of time.
20 Lacy, 119 F.3d at 746 (noting agent’s statement that collectors of child pornography
21 value their materials and store them for long periods of time); (see Def. Ex. 1 at ¶ 25)
22 (noting that cybercriminals jealously guard and protect their online identities and, as a
23 result, evidence of a particular cybercriminal’s identity may be found on digital devices
24 and electronic storage media used over many years). Agent LaTulip also provided
25 extensive details related to defendant’s e-currency accounts used to facilitate his
26 cybercrime scheme over several years and carefully explained tracing the use of those
27 accounts to a new credit card vending site that was operating up through the week prior to
28 defendant’s apprehension. (See Def. Ex. 1 at ¶ 57, 95-102, 105). This evidence provided
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 1 direct evidentiary connections between defendant’s earlier hacking and credit card
 2 trafficking and ongoing hacking and credit card trafficking in the weeks leading up to
 3 defendant’s apprehension, and required no evidentiary inferences to find probable case.
 4 Agent LaTulip also explained that undercover purchases through July 2014, confirmed
 5 defendant was trafficking in stolen credit cards on his new vending site 2pac.cc,
 6 providing further direct evidence in support of probable cause. (See Def. Ex. 1 at ¶ 97).
 7 Finally, Agent LaTulip also noted that upon defendant’s apprehension, the administrator
 8 of the 2pac site, who had previously been active in posting updates to the site,
 9 mysteriously stopped posting between July 5 and July 21, 2014. (See Def. Ex. 1 at ¶
10 105). This powerful circumstantial evidence supported a strong inference that defendant
11 was responsible for maintaining the 2pac.cc vending site as some observers in the media
12 also noticed at the time. (See Gov. Ex. 4 – Seleznev Arrest Explains ‘2pac’ Downtime,
13 KrebsonSecurity, October 15, 2014, available at
14 http://krebsonsecurity.com/2014/10/seleznev-arrest-explains-2pac-downtime/).
15 Therefore, the totality of the circumstances, including the reasonable inferences that may
16 be drawn from the affidavit, establish probable cause closely related to the time of the
17 issue of the warrant requiring the Court to reject defendant’s claims of staleness.
18         D.     The 23-day period in obtaining the warrant was reasonable.
19         When determining whether the “delay between seizure of a package and obtaining
20 a search warrant may violate the defendant’s Fourth Amendment rights…the touchstone
21 is reasonableness.” United States v. Sullivan, 797 F.3d 623, 633 (9th Cir. 2015) (citing
22 United States v. Van Leeuwen, 397 U.S. 249, 252-53 (1970)). Reasonableness is
23 determined under the “totality of the circumstances, [and] not whether the Government
24 pursued the least intrusive course of action.” United States v. Hernandez, 313 F.3d 1206,
25 1213 (9th Cir. 2002). Moreover, the Court must balance “the nature and quality of the
26 intrusion of the individual’s Fourth Amendment interests against the importance of the
27 governmental interests alleged to justify the intrusion.” Sullivan, 797 F.3d at 633
28 (quoting United States v. Place, 462 U.S. 696 (1983)). In assessing case specific facts,
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 1 courts have examined factors such as defendant’s failure to seek a return of his property,
 2 custodial status, parole, consent, weekends and holidays, higher priority cases and the
 3 diligence of the investigating agents in seeking a warrant. See Sullivan, 797 F.3d at 633
 4 (21-day delay was reasonable, in part because defendant was in custody on a parole
 5 violation, defendant gave consent to search, and defendant never sought the return of his
 6 laptop); United States v. Martin, 157 F.3d 46, 54 (2nd Cir. 1998) (11-day delay was
 7 reasonable, in part, because the delay included two weekends and the Christmas holiday.
 8 The court also considered that the item had been sent to a co-conspirator via UPS);
 9 United States v. Stabile, 633 F.3d 219, 235-236 (3rd Cir. 2011) (3-month delay was
10 reasonable where defendant had consented to the search and investigating Secret Service
11 agent was assigned to protect the President and other high-ranking officials); United
12 States v. Howe, 545 Fed.Appx. 64, 66 (2nd Cir. 2013) (13-month delay was reasonable,
13 in part because of the government’s strong interest in keeping a computer on which law
14 enforcement had observed child pornography, and because delay was based on a mistake
15 by the case agent that a state warrant had been obtained to search the computer); United
16 States v. Christie, 717 F.3d 1156, 1164 (10th Cir. 2013) (5-month delay was reasonable
17 after defendant consented and never sought return, and investigating agent was delayed
18 due to other law enforcement priorities). As the case law suggests, no single fact is
19 dispositive, and this Court should assess the specific facts of this case in determining
20 whether the 23-day period of time was reasonable.
21         Here, the government confronted unusual obstacles in preparing the warrant.
22 Neither the original case agent nor the original AUSA could perform these tasks.
23 Further, the new case agent was required to spend approximately two weeks in Guam
24 addressing defendant’s custodial status. In light of this background, the government’s
25 efforts were diligent. The computer was seized from the defendant on July 5, 2014, while
26 defendant was in the Republic of the Maldives. The defendant and the computer were
27 flown to Guam that same day. Defendant has been in custody continuously since July 5,
28 2014, and never sought the return of his computer. The computer was delivered to
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 1 Seattle on July 8th, and Agent Fischlin immediately began preparing a search warrant –
 2 sending a first draft to the USAO on July 10th. Between then and July 20th (which
 3 included two weekends), Agent Fischlin and the USAO consulted on multiple drafts.
 4 During that time, Agent Fischlin had to learn the facts of this complex case, as the agent
 5 who originally investigated the case had left government employment. Then, on July
 6 20th, Agent Fischlin had to stop his efforts to travel to Guam where defendant was
 7 scheduled for an identity hearing on July 22nd. Because he was delayed in Guam as a
 8 result of defense motions and weather-related closures of the courthouse, Agent Fischlin
 9 sought the assistance of Agent LaTulip in Washington D.C., who had some familiarity
10 with the case. Agent LaTulip traveled from Washington D.C. to Seattle and swore out
11 the warrant on July 28th. In short, within 23 days, defendant’s computer traveled from
12 the Republic of Maldives, to Guam, to Seattle, the case agent traveled from Seattle to
13 Guam, and in an effort to expedite the warrant, the case agent took the extraordinary step
14 of asking an agent to travel from Washington D.C. to Seattle to swear out the affidavit. 3
15         In light of the totality of the circumstances, the fact that it only took 23 days to
16 obtain a warrant is entirely reasonable. First, defendant’s possessory interest in the
17 computer was minimal because defendant was in custody and made no request for the
18 return of his computer. Moreover, as this Court already found, it had already been
19 lawfully seized. Second, the government had a substantial and legitimate interest in the
20 contents of the computer as evidence as it was extremely likely to contain significant
21 evidence of the crimes under investigation. Third, the agents acted diligently in pursuing
22 a warrant and the totality of the circumstances - including the agent’s lack of familiarity
23 with the investigation, his need to review a complex multi-year investigation, his other
24 duties including preparing for and appearing at defendant’s identity hearing several
25 thousand miles away, the complexity of the warrant affidavit, and the fact that the agent
26
     3
27    No other agents in Seattle had sufficient familiarity with the case to make them
     available to stand-in for Agent Fischlin.
28
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 1 requested outside assistance when he was delayed in Guam – all show that the 23 day
 2 delay to obtain a warrant in this case was reasonable.
 3         Defendant unpersuasively relies on United States v. Mitchell, 565 F.3d 1347 (11th
 4 Cir. 2009) and United States v. Dass, 849 F.2d 414 (9th Cir 1988) – two cases with vastly
 5 different facts from those found here. In Mitchell, the Eleventh Circuit found a 21 day
 6 delay to obtain a warrant unreasonable in light of the simple nature of the investigation,
 7 the fact that the affidavit consisted largely of boilerplate language, and the fact that
 8 another agent familiar with the facts was available to draft the warrant earlier. Mitchell,
 9 565 F.3d at 1351. In Dass, the Ninth Circuit addressed whether it was reasonable for the
10 government to hold items seized from the mail for up to 23 days in order to seek warrants
11 based on the fact that a dog’s sniff had indicated the presence of marijuana. Dass, 849
12 F.2d at 414-415. Neither of these cases resembles the facts that are at issue in this case.
13         Mitchell involved a much less complicated investigation and a lack of diligence on
14 the part of law enforcement – including a failure to seek assistance from other agents.
15 Mitchell, 565 F.3d at 1351-1353. The Eleventh Circuit has since found a more
16 substantial delay was reasonable in light of facts more similar to those in this case. In
17 United States v. Laist, 702 F.3d 608, 613-616 (11th Cir. 2012) the court distinguished
18 Mitchell and found a 25-day delay in obtaining a warrant was reasonable, in part, because
19 defendant initially consented to a search, defendant had the opportunity to copy items
20 from his computer, law enforcement observed contraband on the computer, the case was
21 complex and the agent worked diligently in obtaining the warrant. The court commended
22 the agent’s efforts to “put the ball in motion the very first day that he received the notice”
23 that the defendant had revoked consent, and submitted a first draft of his affidavit to the
24 U.S. Attorney’s Office 10 days later – with the record demonstrating the agent and
25 prosecutor exchanged edits in the weeks leading up to the warrant’s presentation to the
26 Magistrate Judge. Id. at 617. Here, Agent Mills submitted an initial draft to the U.S.
27 Attorney’s Office within two days of the computer’s arrival in Seattle. The Laist court
28 also noted that “an investigation of this scope and complexity requires more time to
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 1 prepare a warrant” and cited the fact that the investigation had taken “roughly a year and
 2 involved the efforts of numerous FBI agents besides [the case agent], rendering it unlike
 3 a simpler case such as some narcotics possession cases.” Id. While the Laist
 4 investigation involved a relatively complex child pornography case, the investigation
 5 here was even more complex – involving a multi-year, international investigation with
 6 multiple search warrants and extensive forensic evidence. Finally, the Laist court also
 7 noted the fact that the agents were extremely busy with other matters. Id. Agent Fischlin
 8 was similarly busy as a result of other duties related to this very investigation including
 9 the need to travel several thousand miles to testify at defendant’s identity hearing.
10         Dass is similarly unhelpful to the analysis in this case. The detention of a mailed
11 package for up to 23 days to obtain a warrant that need only describe a dog sniff is
12 nothing like the detention of a lawfully seized computer for 23 days in which the agent
13 must describe a complex international cybercrime investigation. As an initial matter, the
14 detention of mail that a recipient expects to receive in a relatively short time period
15 amounts to a substantial intrusion on the individual’s Fourth Amendment interests that is
16 not present in this case. See Sullivan, 797 F.3d 623, 633. In Sullivan, the Ninth Circuit
17 distinguished Dass and Mitchell in a case involving the seizure of a computer from a
18 defendant who remained in custody throughout the time the government pursued a
19 warrant. Id. Distinguishing Dass, the court found a 21-day delay in obtaining a warrant
20 was reasonable and that defendant’s possessory interest, given the totality of the
21 circumstances, was minimal noting “where individuals are incarcerated and cannot make
22 use of seized property, their possessory interest in that property is reduced. Id. (citing
23 Segura v. United States, 468 U.S. 796, 813 (1984). The court went on to distinguish
24 Mitchell, noting that Sullivan made no argument that he had “made any request for the
25 laptop’s return, and had a reduced possessory interest due to his status as a parolee.” Id.
26 at 635. On the other side of the balance, the court found the government had a
27 “reasonable basis for its delay, including the need to transfer the laptop between
28 agencies” to execute the search. The court also noted Mitchell’s suggestion that asking
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 1 for the assistance of another law enforcement officer, as Agent Fischlin did here,
 2 strengthens the reasonableness of the government’s delay. Id. (citing Mitchell, 702 F.3d
 3 at 1352-53). Therefore, the totality of the circumstances in this case shows that the delay
 4 in obtaining the warrant was reasonable and defendant’s argument should be rejected.
 5          E.     The agents acted in good faith reliance on a facially valid warrant.
 6          United States v. Leon, 468 U.S. 897, 922 25 (1984), holds that if the police
 7 conduct a search relying, in good faith, upon a judge’s issuance of a warrant, evidence
 8 obtained during that search will not be subject to suppression even if it is later determined
 9 the judge erred in issuing the warrant. This “good faith exception will save a search
10 based on a defective warrant unless no reasonable police officer could have believed
11 there was probable cause to search the location identified in the search warrant.” United
12 States v. Chavez Miranda, 306 F.3d 973, 980 n.3 (9th Cir. 2002) (emphasis added). In
13 Leon, the Supreme Court listed four circumstances in which the good faith exception will
14 not apply: 1) when the magistrate was misled by information in the affidavit the affiant
15 knew or should have known was false, 2) when the magistrate has wholly abandoned her
16 judicial role, 3) when the affidavit is so lacking in indicia of probable cause as to render
17 official belief in its existence entirely unreasonable, and 4) when the warrant is so facially
18 deficient —i.e., in failing to particularize the place to be searched or the things to be
19 seized—that the executing officers cannot reasonably presume it to be valid. Id. at 923,
20 104 S.Ct. at 3421. None of the Leon exceptions applies to this case. There was no use of
21 materially misleading information in the affidavit. There is no evidence that the
22 magistrate wholly abandoned his judicial role, and, as discussed above, there was ample
23 probable cause to search. Additionally, defendant makes no colorable claim that the
24 warrant was so sweeping as to be facially invalid.
25                                      IV.     CONCLUSION
26          Defendant cannot meet his burden of proving any government misconduct in the
27 handling of the computer. The warrant was based on ample probable cause
28 demonstrating ongoing criminal activity and a basis to believe evidence would be located
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 1 on the computer. The delay in obtaining the warrant is reasonable in light of the totality
 2 of the circumstances. Accordingly, defendant’s motion to suppress should be denied.
 3          DATED this 17th day of May, 2016.
 4
     Respectfully submitted,
 5
 6
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1                                 CERTIFICATE OF SERVICE
2
            I hereby certify that on May 17, 2016, I electronically filed the foregoing with the
3
     Clerk of Court using the CM/ECF system which will send notification of such filing to
4
     the attorney of record for the defendant.
5
6
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